         Case 6:18-bk-06821-KSJ       Doc 300    Filed 03/04/20     Page 1 of 3




Marc J. Randazza (FL Bar No. 625566)
RANDAZZA LEGAL GROUP, PLLC
2764 Lake Sahara Drive, Suite 109
Las Vegas, NV 89117
Telephone: 702-420-2001
ecf@randazza.com
Attorney for Creditors
Consumer Opinion Corp. & Opinion Corp.

                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA

In Re:

Don Karl Juravin

                Debtor.                          Case No.: 6:18-BK-06821-KSJ

 Address:
               15118 Pendido Drive               Chapter 11
               Monteverde, FL 34756

 Last four digits of Social Security No.:
            0745


 OBJECTION OF CREDITORS CONSUMER OPINION CORP. AND OPINION CORP.
          D/B/A PISSEDCONSUMER.COM TO DEBTOR’S AMENDED PLAN OF
                                    REORGANIZATION
         Creditors, Consumer Opinion Corp. and Opinion Corp. d/b/a PissedConsumer.com, by and
through undersigned counsel, hereby object to the Amended Chapter 11 Plan of Reorganization
(“Plan”)(Doc. No. 257) of Don Karl Juravin (“Debtor”) as follows:
         1. On January 7, 2019, Creditor Consumer Opinion Corp. filed Proof of Claim No. 1
            (“COC Claim”) and Creditor Opinion Corp. d/b/a PissedConsumer.com filed Proof of
            Claim No. 2 (“OC Claim”, and collectively “the Claims”).




                                          -1-
         OBJECTION OF CREDITORS CONSUMER OPINION CORP. AND OPINION CORP. D/B/A
          PISSEDCONSUMER.COM TO DEBTOR’S AMENDED PLAN OF REORGANIZATION
                                   6:18-BK-06821-KSJ
       Case 6:18-bk-06821-KSJ          Doc 300     Filed 03/04/20      Page 2 of 3




       2. The COC Claim and the OC Claim each alleged identical general unsecured claims in

           the amount of $481,806.98. This is the amount of damages they suffered at the hands
           of Debtor on account of violation of Fla. Stat. § 501.201 and malicious prosecution
           related to the “Roca Labs Lawsuit” identified in Debtor’s Objections.
       3. For the reasons set forth in the Objection to Amended Plan of Reorganization filed by
           Creditor Bella Collina Property Owner’s Association, Inc. (Doc. No. 297), which
           Creditors join and which is incorporated herein by reference, the Debtor’s plan is not
           confirmable.
       4. For the reasons set forth in the United States Trustee’s Objection to Disclosure
           Statement and Confirmation of Debtor’s Plan of Reorganization (Doc. No. 298), which
           Creditors join and which is incorporated herein by reference, the Debtor’s plan is not
           confirmable.
       5. To the extent other objections are filed, Creditors join in such objections.
       WHEREFORE, the Court should deny confirmation of the Plan, deny approval of the
Disclosure Statement, and enter an order sustaining this Objection.


Dated: March 4, 2020.                        Respectfully Submitted,

                                             RANDAZZA LEGAL GROUP, PLLC
                                             /s/ Marc J. Randazza
                                             Marc J. Randazza (FL Bar No. 625566)
                                             RANDAZZA LEGAL GROUP, PLLC
                                             2764 Lake Sahara Drive, Suite 109
                                             Las Vegas, NV 89117
                                             ecf@randazza.com

                                             Attorney for Creditors

                                                                   Case No.: 6:18-BK-06821-KSJ


                                         -2-
        OBJECTION OF CREDITORS CONSUMER OPINION CORP. AND OPINION CORP. D/B/A
         PISSEDCONSUMER.COM TO DEBTOR’S AMENDED PLAN OF REORGANIZATION
                                  6:18-BK-06821-KSJ
       Case 6:18-bk-06821-KSJ          Doc 300     Filed 03/04/20      Page 3 of 3




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 4, 2020, I electronically filed the foregoing document
with the Clerk of Court using CM/ECF. I further certify that a true and correct copy of the
foregoing document is being served via transmission of Notices of Electronic Filing generated by
CM/ECF on all parties entitled to service including, but not limited to, Debtor’s attorney, Aldo G.
Bartolone, Jr., Esq., Bartolone Law, PLLC, 1030 N. Orange Avenue, Suite 300, Orlando, Florida,
32801, who has also been served this day via First Class Mail, postage prepaid.



                                             Respectfully Submitted,

                                             /s/ Cassidy S. Curran
                                             Employee
                                             RANDAZZA LEGAL GROUP, PLLC
                                             2764 Lake Sahara Drive, Suite 109
                                             Las Vegas, NV 89117
                                             ecf@randazza.com

                                              Attorney for Creditors




                                         -3-
        OBJECTION OF CREDITORS CONSUMER OPINION CORP. AND OPINION CORP. D/B/A
         PISSEDCONSUMER.COM TO DEBTOR’S AMENDED PLAN OF REORGANIZATION
                                  6:18-BK-06821-KSJ
